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                         UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

  NETLIST, INC.,                              )
                                              )
                Plaintiff,                    )
                                              )    Case No. 2:22-cv-293-JRG
         vs.                                  )
                                              )    JURY TRIAL DEMANDED
  SAMSUNG ELECTRONICS CO, LTD;                )    (Lead Case)
  SAMSUNG ELECTRONICS AMERICA,                )
  INC.; SAMSUNG SEMICONDUCTOR                 )
  INC.,                                       )
                                              )
                Defendants.                   )

  NETLIST, INC.,                  )
                                  )
            Plaintiff,            )
                                  )
                                                   Case No. 2:22-cv-294-JRG
       vs.                        )
                                  )
                                                   JURY TRIAL DEMANDED
  MICRON TECHNOLOGY, INC.; MICRON )
  SEMICONDUCTOR PRODUCTS, INC.; )
  MICRON TECHNOLOGY TEXAS LLC, )
                                  )
            Defendants.           )
                                  )

               UNOPPOSED JOINT MOTION TO AMEND THE EXPERT
                           DISCOVERY DEADLINE

         Plaintiff Netlist, Inc. (“Netlist”) and Defendants Micron Technology, Inc., Micron

  Semiconductor Products, Inc., and Micron Technology Texas LLC respectfully requests that

  the Court amend the Third Amended Docket Control Order (Dkt. No. 205) to extend the

  deadline to complete expert discovery from January 9 to February 16. Netlist and Micron’s

  requested extension would not require any amendment to the remaining schedule. Defendants

  Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung

  Semiconductor Inc. do not oppose the requested extension. A proposed order is attached.
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   Current Deadline        Amended Deadline       Event

   January 9, 2024         February 16, 2024      Deadline to Complete Expert Discovery


         Because this extension does not impact any other dates in the schedule, the parties

  understand that a showing of good cause is not required. However, good cause for the

  extension exists to accommodate the scheduling conflicts of Netlist’s and Micron’s counsel

  and experts in view of at least the significant overlap with the proceedings in Netlist, Inc. v.

  Micron Technology, Inc., et al., No. 2:22-cv-203-JRG (E.D. Tex.), the IPR proceedings

  between the parties, as well as another matter on which Netlist’s lead counsel is also servicing

  as lead counsel (G+ Communciations, LLC v. Samsung Electronics Co. LTD., Civ. Action

  No. 2:22-CV-00078-JRG), which is set to go to trial in this Court on January 22, 2024.

  Currently, the parties have agreed that Samsung will depose Dr. Groehn on January 8,

  Samsung and Micron will depose Mr. Gillingham on January 11, and Samsung will depose

  Mr. Kennedy and Dr. Mangione-Smith on January 12. The parties will work diligently to find

  mutually-agreeable dates prior to February 16, 2024 for the remaining witnesses.

  Dated: January 7, 2024                             Respectfully submitted,

                                                     /s/ Jason G. Sheasby

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                                                       PRODUCTS, INC., AND
                                                       MICRON TECHNOLOGY TEXAS
                                                       LLC


                                CERTIFICATE OF SERVICE

         I hereby certify that, on January 7, 2024, a copy of the foregoing was served to all

  counsel of record.

                                                       /s/ Yanan Zhao
                                                       Yanan Zhao

                            CERTIFICATE OF CONFERENCE

         I hereby certify that the parties met and conferred on the subject matter of this




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  Motion to Amend the Docket Control Order, and all the parties agree to join the motion.

                                                     /s/ Yanan Zhao
                                                     Yanan Zhao




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